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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   ROBERT COHEN and
   ACCESS FOR THE DISABLED,
   INC.,

        Plaintiffs,

   v.                                          CASE NO: 8:11-cv-1085-T-23EAJ

   SARASOTA BUFFALO WINGS,
   LLC et al.,

        Defendants.
   __________________________________/

                                      ORDER

        The stipulation of dismissal (Doc. 19) is APPROVED. Under Rule 41(a),

   Federal Rules of Civil Procedure, this action is DISMISSED WITH PREJUDICE.

        ORDERED in Tampa, Florida, on April 12, 2012.


                                             Steven D. Merryday
                                          STEVEN D. MERRYDAY
                                      UNITED STATES DISTRICT JUDGE
